Case 1:20-cv-00924-DCJ-JPM Document 3 Filed 08/12/20 Page 1 of 3 PageID #: 12




                                                                                     a
                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          ALEXANDRIA DIVISION

 KC NARESH,                              CIVIL DOCKET NO. 1:20-CV-00924-P
 Petitioner

 VERSUS                                  JUDGE DRELL

 WARDEN, ET AL.,                         MAGISTRATE JUDGE PEREZ-MONTES
 Respondents



                             MEMORANDUM ORDER

      Before the Court is a Petition for Writ of Habeas Corpus under 28 U.S.C. §

2241 (ECF No. 1) filed by pro se Petitioner KC Naresh (“Naresh”). Naresh is a

detainee in the custody of the Department of Homeland Security (“DHS”) and Bureau

of Immigration and Customs Enforcement (“ICE”) housed at LaSalle Correctional

Center (“LCC”) in Olla, Louisiana.

      Because Naresh properly alleges that he is being subjected to indefinite

detention in violation of his constitutional rights, his Petition (ECF No. 1) should be

SERVED on the Government.

I.    Background

      Naresh is a native and citizen of Nepal. Naresh alleges that he has been in

post-removal order detention since November 18, 2019. ECF No. 1 at 2. Naresh

alleges that he has provided ICE with a temporary passport and all requested forms

for ICE to obtain travel documents, but Nepal has not issued the documents.

Therefore, Naresh alleges that his removal to Nepal is not likely to occur in the
Case 1:20-cv-00924-DCJ-JPM Document 3 Filed 08/12/20 Page 2 of 3 PageID #: 13




reasonably foreseeable future, and his continued detention is unlawful. ECF No. 1

at 7.

II.     Service of Process

        To determine whether Naresh is entitled to habeas relief:

        THE CLERK IS DIRECTED to serve a summons, a copy of the Petition (ECF

No. 1), and a copy of this Order, by certified mail, on the United States through the

United States Attorney for the Western District of Louisiana, the United States

Attorney General, DHS/ICE through its Director, and the Warden of the LaSalle

Correctional Center.

        IT IS ORDERED that Respondents file an answer to the Petition (ECF No. 1)

within 60 days following the date of service. In the answer, Respondents shall provide

the Court with summary judgment evidence indicating whether Petitioner’s order of

removal is final, whether there is a significant likelihood of removal in the reasonably

foreseeable future, and whether Petitioner’s detention is otherwise lawful. This

evidence shall include information regarding the length of time that he has been in

custody, the date on which his removal order became final, any administrative

decisions relating to Petitioner’s request for bond, and all documents relevant to the

efforts made by the immigration officials to obtain travel documents for Petitioner.

        Respondents shall also file a memorandum of law briefing the issues raised in

the answer and citing applicable statutory and case law.




                                           2
Case 1:20-cv-00924-DCJ-JPM Document 3 Filed 08/12/20 Page 3 of 3 PageID #: 14




      IT IS FURTHER ORDERED that Petitioner shall have 30 days following the

filing of Respondents’ answer to produce contradictory summary judgment evidence

on the issue of the lawfulness of his detention.

      All documentary exhibits MUST HAVE PROPERLY NUMBERED PAGES.

An index describing each item attached to the response and showing each item’s page

number shall also be attached.

      FINALLY, IT IS ORDERED that, as a condition to their acceptance by the

Clerk, all future filings by Petitioner and Respondents shall include a certificate

stating that a copy thereof has been mailed to all other parties.

      After the record is complete and all delays have run, the Court will determine

if genuine issues of material fact exist, which preclude summary judgment and

necessitate an evidentiary hearing. If no hearing is necessary, a Report and

Recommendation will be issued without further notice.

      THUS DONE AND SIGNED in Alexandria, Louisiana, on this 12th day of

August 2020.

                                        __________________________________________
                                        JOSEPH H.L. PEREZ-MONTES
                                        UNITED STATES MAGISTRATE JUDGE




                                           3
